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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA
______________________________________
                                       :
Kimberly Bowie,                        :
                                       : Civil Action No.: 2:14-cv-01244-CRE
                                       :
                        Plaintiff,     :
        v.                             :
                                       :                                                              (
Ally Financial, Inc.; and DOES 1-10,   :
inclusive,                             :                                                              (
                                       :                                                              D
                        Defendants.    :                                                              R
______________________________________ :                                                              H
                       STIPULATION OF DISMISSAL WITH PREJUDICE

                   IT IS HEREBY STIPULATED AND AGREED by and between the parties

through their undersigned counsel that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned

action is hereby dismissed in its entirety with prejudice. Each party shall bear its own attorneys’

fees and costs.

 Kimberly Bowie                                Ally Financial, Inc.

 ___/s/ Jody B. Burton__________               __/s/ Rebecca S. Saelao___________

 Jody B. Burton, Esq.                          Katherine E. Koop
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                                               One Embarcadero Center, Suite 2600
                                               San Francisco, CA 94111
                                               Attorneys for Defendant

_____________________________
SO ORDERED




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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 19, 2015, a true and correct copy of the foregoing
Stipulation of Dismissal with Prejudice was served electronically by the U.S. District Court for
the Western District of Pennsylvania Electronic Document Filing System (ECF) and that the
document is available on the ECF system.
                                             By_/s/ Jody B. Burton_________
                                                   Jody B. Burton




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